       Case 8-20-08140-reg            Doc 27       Filed 09/09/22      Entered 09/09/22 18:17:13




LOEB & LOEB LLP
Schuyler G. Carroll
Noah Weingarten
345 Park Avenue
New York, New York 10154
Tel.: (212) 407-4000
scarroll@loeb.com
nweingarten@loeb.com

Attorneys for Brian Ryniker,
Litigation Administrator

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------- X   Chapter 11
                                                           :
IN RE:                                                     :   Case No. 19-71020 (REG)
                                                           :   Case No. 19-71022 (REG)
DÉCOR HOLDINGS, INC., et. al.,1                            :   Case No. 19-71023 (REG)
                                                           :   Case No. 19-71024 (REG)
                  Post-Confirmation Debtors.               :   Case No. 19-71025 (REG)
                                                           :
---------------------------------------------------------- X   (Substantively Consolidated)
BRYAN RYNIKER, IN HIS CAPACITY AS :
LITIGATION ADMINISTRATOR OF THE                            :   Hon. Robert E. Grossman
POST-CONFIRMATION ESTATES OF                               :
DÉCOR HOLDINGS, INC., et al.,                              :
                                                           :
                           Plaintiff,                      :
                                                           :
                  v.                                       :   Adv. Pro. No. 20-08140 (REG)
                                                           :
VALDESE WEAVERS, LLC,                                      :
                                                           :
                           Defendant.                      :
---------------------------------------------------------- X

              PLAINTIFF’S REPLY IN FURTHER SUPPORT OF
                       MOTION IN LIMINE NO. 3
  TO BAR DEFENDANT FROM INTRODUCING EVIDENCE NOT YET PRODUCED



        1
            The debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Décor Holdings, Inc. (4174); Décor Intermediate Holdings LLC (5414); RAD Liquidation
Inc. (f/k/a The Robert Allen Duralee Group, Inc.) (8435); RAD Liquidation LLC (f/k/a The Robert Allen Duralee
Group, LLC) (1798); and RADF LLC (f/k/a The Robert Allen Duralee Group Furniture, LLC) (2835).
      Case 8-20-08140-reg         Doc 27     Filed 09/09/22      Entered 09/09/22 18:17:13




       Plaintiff submits this reply in further support of his Motion in Limine No. 3 to Bar

Defendant from Introducing Evidence Not Yet Produced [Dkt. No. 20] (the “Motion”) and in

response to Defendant’s Omnibus Opposition to Litigation Administrator’s Motions in Limine

Nos. 1 Through 3 [Dkt. No. 22]. Pursuant to the Pretrial Stipulation and Order [Dkt. No. 26],

Plaintiff’s motions in limine nos. 1 and 2 [Dkt. Nos. 18 and 19] have been withdrawn.

                                           ARGUMENT

       1.      By the Motion, Plaintiff sought to bar Defendant from introducing any evidence at

the trial of this adversary proceeding that Valdese had not yet produced. The crux of the Motion

was that “the Litigation Administrator pointed out numerous evidentiary defects in Defendant’s

affirmative defenses,” including that “Defendant has failed to produce or indicate that it intends to

proffer admissible evidence of what goods were delivered or when” in support of a new value

defense under 11 U.S.C. § 547(c)(4). Motion at ¶ 5. And thus, the Motion was made “to avoid

any surprise as well as to obtain clarity prior to any attempt by Defendant to introduce any evidence

that it has failed to produce – or disclose – to the Litigation Administrator.” Id. at ¶ 6.

       2.      The Motion was filed in advance of the originally scheduled trial date (July 28,

2022). With the benefit of Plaintiff having pointed out the glaring evidentiary gap in Defendant’s

case concerning its new value defense, on August 4, 2022 – weeks after the initial trial date –

Defendant’s counsel contacted Plaintiff to advise that Defendant intended to introduce two exhibits

(Def’s 21 and 22) that were “inadvertently left out of our informal production.” It appears that

Defendant intends to use these two exhibits in support of Defendant’s new value defense.

       3.      It is important to note that Plaintiff had never seen these documents until August 4.

Nor was Plaintiff even aware of their existence.         Plaintiff conducted discovery, settlement

discussions, and proceeded to trial without any knowledge of these documents. Moreover,




                                                  2
      Case 8-20-08140-reg         Doc 27     Filed 09/09/22      Entered 09/09/22 18:17:13




Defendant did not even object to the Motion based on these documents. Indeed, Defendant never

mentioned these documents in its objection to the Motion. If not for the delay of trial – which

happened just 3 days before the trial – the trial would have been concluded without Plaintiff – or

the Court – ever becoming aware of these documents.

       4.      The late – after the trial would have already concluded – production of these two

documents is exactly what the Motion sought to prevent. Producing evidence at the 25th hour –

long after discovery concluded and the date that the trial was supposed to already have concluded

– is the definition of surprise. Indeed, these purported exhibits were not even disclosed as exhibits

on Defendant’s exhibit list, attached to the joint pretrial memorandum. Plaintiff has had no chance

to assess the veracity of these exhibits or challenge their authenticity.

       5.      Making matters worse, this is also clear sandbagging. Defendant’s production is

an attempt to correct a gap in Defendant’s evidentiary case. Defendant has known about this gap

for over a year, as Plaintiff has repeatedly told Defendant that there was little evidence attempting

to show that any goods were delivered, since the outset of this adversary proceeding. Despite

having this knowledge, Defendant waited until the eve of trial to produce this evidence – after

Plaintiff filed the Motion – until such a time as Plaintiff was unable to obtain further discovery or

conduct any diligence whatsoever into the documents. It would be unfair that Defendant should

be able to rely on documents that Plaintiff only learned about after discovery concluded, after the

submission of the pretrial order, and after the trial date would have concluded.

       6.      Thus, Plaintiff seeks to prevent Defendant from introducing these two documents

– and any other evidence that Defendant failed to produce by the final pretrial conference.




                                                  3
       Case 8-20-08140-reg        Doc 27    Filed 09/09/22    Entered 09/09/22 18:17:13




                                         CONCLUSION

           WHEREFORE, the Litigation Administrator respectfully requests that the Court enter an

Order, granting the Motion and such other and further relief as the Court deems appropriate.

 Dated: New York, New York
        September 9, 2022                             LOEB & LOEB LLP

                                                      By: /s/ Schuyler G. Carroll
                                                      Schuyler G. Carroll
                                                      Noah Weingarten
                                                      345 Park Avenue
                                                      New York, New York 10154
                                                      Tel.: (212) 407-4000
                                                      scarroll@loeb.com
                                                      nweingarten@loeb.com

                                                      Attorneys for Brian Ryniker,
                                                      Litigation Administrator
22518376




                                                 4
